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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. CR12-195JLR

10          v.                                           PROPOSED FINDINGS OF FACT
                                                         AND DETERMINATION AS TO
11 TIMMY JOE TAYLOR,                                     ALLEGED VIOLATIONS OF
                                                         PROBATION
12                                Defendant.

13                                             INTRODUCTION

14          I conducted a hearing on alleged violations of probation in this case on December 23,

15 2015. The United States was represented by Kate Vaughn, and defendant was represented by

16 Nicholas Marchi. The proceedings were electronically recorded.

17

18                                 CONVICTION AND SENTENCE

19          Defendant had been convicted on or about July 30, 2013, on charges of making a false

20 claim. The Hon. James L. Robart sentenced defendant to a three year term of probation.

21          The court modified the conditions of probation on December 17, 2013, to add a

22 requirement for a sobrietor, after defendant admitted to drinking alcohol.

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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS TO
     ALLEGED VIOLATIONS OF PROBATION - 1
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 2                     ALLEGED VIOLATIONS AND DEFENDANT'S DENIAL

 3          In an application dated November 24, 2015, USPO Jamie Halvorson alleged that

 4 defendant violated the conditions of probation on May 30, 2015, by committing the offense of

 5 domestic violence assault, and exposing children to domestic violence assault.

 6          At the initial hearing on December 23, 2015, I advised defendant as to these charges and

 7 as to his constitutional rights. Defendant denied the charges. He has been charged in state court

 8 with offenses arising from the same alleged conduct, and is awaiting trial in state court.

 9          These probation revocation charges have been set for an evidentiary hearing before Judge

10 Robart on January 19, 2016 at 9:00 a.m.

11          Pursuant to the stipulation of the parties, defendant has been released on his personal

12 recognizance, with all conditions of his probation incorporated as conditions of his release.

13 Defendant appeared at the initial appearance as directed, pursuant to a summons.

14

15          DATED this 23rd day of December, 2015.

16
                                                          /s/JOHN L. WEINBERG
17                                                        JOHN L. WEINBERG
                                                          United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS TO
     ALLEGED VIOLATIONS OF PROBATION - 2
